
61 Cal.2d 886 (1964)
CHARLES F. STEVENS, Petitioner,
v.
COMMISSION ON JUDICIAL QUALIFICATIONS, Respondent.
L. A. No. 27765. 
Supreme Court of California. In Bank.  
July 9, 1964.
 Schall, Nielsen, Boudreau &amp; Price, W. J. Schall and William P. Gray for Petitioner.
 Stanley Mosk, Attorney General, Gordon Ringer and Derald E. Granberg, Deputy Attorneys General, for Respondent.
 Memorandum
 THE COURT.
 We have reviewed the record herein on the law and the facts as required by section 10b of article VI of the California Constitution. We find no basis for supporting, and therefore reject, the recommendation of the Commission on Judicial Qualifications that petitioner, Charles F. Stevens, be removed from office. The proceeding is dismissed.
